         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       SHELBY DIVISION

                       CRIMINAL NO. 4:94CR44


UNITED STATES OF AMERICA               )
                                       )
                                       )
                VS.                    )           ORDER
                                       )
                                       )
CHUNGA HAKI MATATA                     )
                                       )


     THIS MATTER is before the Court on the Defendant’s motion for

reconsideration of the Court’s Order reducing his sentence to 291 months

imprisonment.

     Defendant’s original motion for reduction of sentence pursuant to the

new Amendment to the Guidelines regarding crack cocaine offenses

argued for an amended sentence of 290 months. See Defendant’s

Motion for Reduction of Sentence, filed February 24, 2009, at 8. The

Supplement to the presentence report, however, recommended a reduction

to 291 months, and the Court concurred with that recommendation.

Supplement to the Presentence Report, filed under seal March 26,

2009. Now, Defendant argues that the Court should further reduce his




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sentence to 262 months, stating the Court has “discretion to reduce [his]

sentence to any sentence within the applicable minimum guideline range.”

Motion for Reconsideration, filed April 8, 2009, at 3. Regardless of

whether or not the Court has such discretion, the Court finds Defendant’s

amended sentence of 291 months to be appropriate under the Guidelines

and determines no further reduction is warranted.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion for

reconsideration is hereby DENIED.

                                     Signed: May 14, 2009




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